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                      IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF KENTUCKY (at Louisville)

 SISTERS FOR LIFE, INC., et. al.                       :        Case No. 3:21-CV-367-RGJ-CHL

          Plaintiffs                                   :

 v.                                                    :

 LOUISVILLE JEFFERSON COUNTY,                          :
 GOVERNMENT, et. al.

          Defendants                                   :

                            DEFENDANTS’ PRETRIAL MEMORANDUM


          Defendants, Louisville Metro Government, Mayor Greg Fischer, Chief Erika Shields and

 Mike O’Connell (collectively “Defendants”), by counsel, respectfully submit the following

 pretrial memorandum1:

      1. Facts

          On May 20, 2021, the Louisville/Jefferson County Metro Council (“Metro Council”)

 passed Louisville Metro Code of Ordinances (“LMCO”) 132.09 to ensure safe, unobstructed

 entry to and exit from a healthcare facility by establishing a “buffer zone” outside of healthcare

 facilities that need and request one. See LMCO 132.09. The buffer zone created by the

 Ordinance is one of the smallest buffer zones that currently exists in the United States. It extends

 five feet in both directions from the entrance to a healthcare facility and runs perpendicularly

 ending at the sidewalk curb. Id. A buffer zone is not created automatically, nor can a healthcare

 facility create a buffer zone themselves. It must be requested through Public Works. Id.




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   Defendants’ Pretrial Memorandum was filed late due to parties’ request for a status call with the Court via email to
 Ms. Andrea Morgan on August 22, 2023., the parties’ pending motions, and the difficulties with determining
 information necessary for trial.

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         The Ordinance was passed because patients entering and exiting the EMW Clinic facility

 were regularly harassed, stalked, intimidated and assaulted outside of the clinic. And although

 other means were considered, the buffer zone was the only truly effective means at ceasing these

 acts by protestors and sidewalk counselors and providing safe entry and exit by patients to and

 from the facility.

         Plaintiffs allege that LMCO 132.09 infringe on their First Amendment rights because

 they want to be able to approach patients entering and exiting the facility up to the door of the

 facility. Plaintiffs allege that being required to stand, at most, five feet away from a patient

 infringes on their abilities to be heard and effective in their attempts to persuade people from

 having abortions.

         However, newly enacted Kentucky law prohibiting abortion made LMCO 132.09 and the

 corresponding buffer zone obsolete. The EMW Clinic is no longer providing abortions and is, in

 fact, on the market to be sold.

         There are two pending motions for summary judgment, filed by Plaintiffs on March 16,

 2023, in front of this Court. Dkt. 74; Dkt. 75. There is also a motion to dismiss, filed by

 Defendants on March 16, 2023, pending in this Court. Dkt. 76.

     2. Issues of Fact to be Resolved at Trial.

         Defendants maintain that there no material issues of fact to be resolved at trial.

     3. Disputed Issues of Law.

         The first issue of law is whether LMCO 132.09 is narrowly tailored to serve a significant

 governmental interest. Defendants maintain that it is. The second issue is whether Plaintiff’s

 injuries are moot considering abortion is now prohibited in Kentucky. Defendants maintain that

 they are.



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                                            Respectfully submitted,

                                            MICHAEL J. O’CONNELL
                                            JEFFERSON COUNTY ATTORNEY

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                                                 Counsel for Defendants




                                CERTIFICATE OF SERVICE

       It is hereby certified that a true and correct copy of the foregoing Defendants’ Pretrial
 Memorandum was served via the Court’s CM/ECF system, on the 6th day of September 2023,
 which will provide notice to all counsel or parties of record.




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